     Case 1:06-cr-00022-MP-GRJ           Document 82       Filed 06/07/07    Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:06-cr-00022-MP-AK

WILLIE DAMOND GREEN,

      Defendant.
___________________________/

                                          ORDER

       A sentencing hearing was commenced regarding Mr. Green on June 7, 2007. At the

outset of the hearing, Mr. Green orally moved to continue the sentencing. The motion is granted,

and sentencing is reset for Thursday, August 2, 2007, at 3:00 p.m.


       DONE AND ORDERED this 7th day of June, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
